                    Case 19-10731            Doc 1       Filed 04/12/19 Entered 04/12/19 17:08:02                              Desc Main
                                                           Document     Page 1 of 20
Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF ILLINOIS

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                BCause LLC, a Virginia limited liability company

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  130 S. Jefferson St., #101
                                  Chicago, IL 60661
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Cook                                                            Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  192 Ballard Ct., #313 Virginia Beach, VA 23460
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       bcause.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor
                                                                Document     Page 2 of Case
                                                                                        20 number (if known)
          BCause LLC, a Virginia limited liability company
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                  Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                          Case number
                                                  District                                 When                          Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor     BCause Mining LLC                                          Relationship              Sole Member
                                                             Northern District of
                                                             Illinois Eastern
                                                  District   Division                      When       4/11/19           Case number, if known     19-10562



Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
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Debtor
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                                                                                    20 number (if known)
         BCause LLC, a Virginia limited liability company
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor
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          BCause LLC, a Virginia limited liability company
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      April 12, 2019
                                                  MM / DD / YYYY


                             X   /s/ Ann M. Cresce                                                       Ann M. Cresce
                                 Signature of authorized representative of debtor                        Printed name

                                         Corporate Secretary and General
                                 Title   Counsel




18. Signature of attorney    X   /s/ SCOTT R. CLAR                                                        Date April 12, 2019
                                 Signature of attorney for debtor                                              MM / DD / YYYY

                                 SCOTT R. CLAR
                                 Printed name

                                 Crane, Simon, Clar & Dan
                                 Firm name

                                 Suite 3705
                                 135 South LaSalle Street
                                 Chicago, IL 60603-4297
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     312-641-6777                  Email address      sclar@cranesimon.com

                                 06183741 IL
                                 Bar number and State




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 Fill in this information to identify the case:

 Debtor name         BCause LLC, a Virginia limited liability company

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ILLINOIS

 Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          April 12, 2019                          X /s/ Ann M. Cresce
                                                                       Signature of individual signing on behalf of debtor

                                                                       Ann M. Cresce
                                                                       Printed name

                                                                       Corporate Secretary and General Counsel
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name BCause LLC, a Virginia limited liability company
 United States Bankruptcy Court for the: NORTHERN DISTRICT OF ILLINOIS                                                                                Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Abacus Solutions,                                                                                                                                                        $13,088.00
 LLC
 1190 Kennestone
 Circle NW, #120
 Newborn, GA 30056
 Amazon Web                                                                                                                                                               $22,686.05
 Services, Inc.
 410 Terry Avenue
 North
 Seattle, WA
 98109-5210
 BitGo, Inc.                                                                                                                                                              $13,500.00
 2443 Ash Street
 Palo Alto, CA 94306
 Brian Sayler                                                                                                                                                             $12,568.79
 48 Bensam Place
 Haledon, NJ 07508
 Capital Counsel,                                                                                                                                                         $45,500.00
 L.L.C.
 700 13th Street, NW,
 2nd Floor
 Washington, DC
 20005
 Century Link                                                                                                                                                             $34,615.42
 1025 Eldorado Blvd.
 Broomfield, CO
 80021
 Century Link                                                                                                                                                             $10,931.19
 1025 Eldorado Blvd.
 Arvada, CO 80001
 Ciniva, LLC                                                                                                                                                              $90,000.00
 251 Granby Street
 Norfolk, VA 23510
 Crystal Clear                                                                                                                                                            $29,521.25
 Communications
 3180 N. Lake Shore
 Drive, #20C
 Chicago, IL 60657

Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    BCause LLC, a Virginia limited liability company                                                   Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Endurance Network                                               Lawsuit                                                                                                  $52,923.55
 Services, LLC                                                   810CL190000594-
 295 Bendix Road,                                                00
 #300
 Virginia Beach, VA
 23452
 FIS Systems                                                                                                                                                              $30,000.00
 International LLC
 601 Riverside Ave.
 Jacksonville, FL
 32204
 Jones, Madden &                                                                                                                                                          $26,395.00
 Council, PLC
 5029 Corporate
 Woods Drive, #190
 Virginia Beach, VA
 23462
 Katten Munchin                                                                                                                                                         $470,236.95
 Rosenman LLP
 525 W. Monroe St.
 Chicago, IL 60661
 LeClairRyan                                                                                                                                                              $18,128.70
 4405 Cox Road,
 #200
 Glen Allen, VA
 23060
 Nasdaq                                                                                                                                                                 $123,723.38
 One Liberty Plaza,
 50th Floor
 New York, NY 10006
 Paychex of New                                                                                                                                                           $86,432.67
 York LLC
 8215 Forest Point
 Blvd., #150
 Charlotte, NC 28273
 SoftVision                                                                                                                                                               $13,318.00
 Consulting LLC
 Two Midtown Plaza
 1349 W. Peachtree
 St., N.E., #1375
 Atlanta, GA 30309
 Tradehelm, Inc.                                                                                                                                                          $20,840.00
 27 N. Wacker Dr.,
 #103
 Chicago, IL 60606
 United HealthCare                                                                                                                                                        $15,645.03
 PO Box 94017
 Palatine, IL
 60094-4017
 W-R2 Jefferson                                                                                                                                                             $9,900.00
 Owner VIII, L.L.C.
 1200 North Branch
 Chicago, IL 60642

Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    BCause LLC, a Virginia limited liability company                                                  Case number (if known)
           Name




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                    page 3

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                                                               United States Bankruptcy Court
                                                                      Northern District of Illinois
 In re      BCause LLC, a Virginia limited liability company                                                          Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 SBI FTF SPC II Inc.                                                                                                             approx. 39%
 1209 Orange ST.
 Wilmington, DE 19801

 See Attached



DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Corporate Secretary and General Counsel of the corporation named as the debtor in this case, declare under
penalty of perjury that I have read the foregoing List of Equity Security Holders and that it is true and correct to the best
of my information and belief.



 Date April 12, 2019                                                         Signature /s/ Ann M. Cresce
                                                                                            Ann M. Cresce

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                               United States Bankruptcy Court
                                                                     Northern District of Illinois
 In re      BCause LLC, a Virginia limited liability company                                            Case No.
                                                                                  Debtor(s)             Chapter    11




                                                     VERIFICATION OF CREDITOR MATRIX

                                                                                        Number of Creditors:                                  67




            The above-named Debtor(s) hereby verifies that the list of creditors is true and correct to the best of my
            (our) knowledge.




 Date:       April 12, 2019                                            /s/ Ann M. Cresce
                                                                       Ann M. Cresce/Corporate Secretary and General Counsel
                                                                       Signer/Title




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Abacus Solutions,
              CaseLLC
                    19-10731 Doc    1 Capital Counsel, L.L.C.
                                       Filed 04/12/19                         Cox Business
                                                          Entered 04/12/19 17:08:02   Desc Main
1190 Kennestone Circle NW, #120       700  13th
                                        DocumentStreet, NW, 2nd Floor
                                                         Page 16 of 20        Dept 781121
Newborn, GA 30056                      Washington, DC 20005                 PO Box 78000
                                                                            Detroit, MI 48278-1121
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Adolphi, Michael                       Century Link                         Cresce, Ann
4404 Muddy Creek Rd.                   1025 Eldorado Blvd.                  5731 Hampton Dr.
Virginia Beach, VA 23457               Broomfield, CO 80021                 Long Grove, IL 60047




Alison Zizzo                           Century Link                         Crystal Clear Communications
Midgett-Preti-Olansen                  1025 Eldorado Blvd.                  3180 N. Lake Shore Drive, #20C
2901 S. Lynnhaven Rd., #120            Arvada, CO 80001                     Chicago, IL 60657
Virginia Beach, VA 23452-5000



Amazon Web Services, Inc.              Chaman, Dawn                         Electronic Verification Systems
410 Terry Avenue North                 2324 Treesong Trail                  2500 Technology Drive
Seattle, WA 98109-5210                 Virginia Beach, VA 23456             Louisville, KY 40299




Andrew Cohen                           Childress, Patrick                   Endurance Network Services, LLC
3750 Jefferson Blvd.                   701 S. Wells St., #2001              295 Bendix Road, #300
Virginia Beach, VA 23455               Chicago, IL 60607                    Virginia Beach, VA 23452




Aon Risk Services Northeast, Inc.      Chris Sikes                          Fallon, Kevin
PO Box 7247-73676                      1332 Creekview Drive                 2800 252nd Ave.
Philadelphia, PA 19170-7376            Chesapeake, VA 23321                 Salem, WI 53168




Asgard Partners & Co, LLC              Chuck Mackie                         FIA
12 East 49th St.                       4827 N. Hamilton                     2001 Pennsylviani Ave. NW, #600
New York, NY 10017                     Chicago, IL 60625                    Washington, DC 20006




BitGo, Inc.                            Ciniva, LLC                          FIS Systems International LLC
2443 Ash Street                        251 Granby Street                    601 Riverside Ave.
Palo Alto, CA 94306                    Norfolk, VA 23510                    Jacksonville, FL 32204




Boyk, William                          Comcast                              Frederick J. Grede
982 Dakota Circle                      PO Box 70219                         500 N. Lake Shore Drive, Unit 3314
Naperville, IL 60563                   Philadelphia, PA 19176-0219          Chicago, IL 60611




Brian Sayler                           ComEd                                GA Secretary of State - Corp. Div.
48 Bensam Place                        P.O. Box 6111                        2 Martin Luther King Jr Drive SE
Haledon, NJ 07508                      Carol Stream, IL 60197-6111          Suite 313 West Tower
                                                                            Atlanta, GA 30334
Grede, Fred Case 19-10731 Doc        1 Karan
                                        Filed Rai                           Paul Bozych
                                               04/12/19 Entered 04/12/19 17:08:02     Desc Main
500 N. Lake Shore Drive, Unit 3314     921  Atlantic
                                         Document    Avenue, #1401
                                                          Page 17 of 20     Nielsen, Zehe & Antas, PC
Chicago, IL 60611                       Virginia Beach, VA 23451             55 W. Monroe St., #1800
                                                                             Chicago, IL 60603



Greenhouse Software, Inc.               Katten Munchin Rosenman LLP          Paul Wong
PO Box 392683                           525 W. Monroe St.                    4020 Church Point Road
Pittsburgh, PA 15251-9683               Chicago, IL 60661                    Virginia Beach, VA 23455




Greenwich Centre Investors, L.C.        LeClairRyan                          Paychex of New York LLC
c/o Robinson Development Group          4405 Cox Road, #200                  8215 Forest Point Blvd., #150
150 W. Main St., #1100                  Glen Allen, VA 23060                 Charlotte, NC 28273
Norfolk, VA 23510



Health Equity, Inc.                     Legal Resources                      Pinnacle Group
15 W. Scenic Pointe Drive, #100         2877 Guardian Lane, #101             208 Golden Oak Court, #121
Draper, UT 84020                        Virginia Beach, VA 23452             Virginia Beach, VA 23452




HireRight, LLC                          MA Commonwealth                      Pollack, Bruce
PO Box 847891                           William Francis Galvin               167 Park Ave.
Dallas, TX 75284-7891                   One Ashburton Place, Room 1717       Glencoe, IL 60022
                                        Boston, MA 02108-1512


Jeff Brandt                             Marc Nagel                           RI Department of State
601 Tradewind Circle                    680 N. Lake Shore Drive, #419        Division of Business Services
Newport News, VA 23602-6324             Chicago, IL 60611                    148 W. River St.
                                                                             Providence, RI 02904-2615



John Ashby                              Mayo Insurance Agency Inc.           Sayler, Brian
1440 W. Little Neck Road                1917 Laskin Road, #101               48 Bensam Place
Virginia Beach, VA 23452                Virginia Beach, VA 23450             Glencoe, IL 60022




Jones, Madden & Council, PLC            Meltwater News US Inc.               SoftVision Consulting LLC
5029 Corporate Woods Drive, #190        Dept LA 2372                         Two Midtown Plaza
Virginia Beach, VA 23462                Pasadena, CA 91185-3721              1349 W. Peachtree St., N.E., #1375
                                                                             Atlanta, GA 30309



Justin Taylor                           Nasdaq                               Sun Life Financial
7507 S. Morgan St.                      One Liberty Plaza, 50th Floor        PO Box 7247-0381
Chicago, IL 60620                       New York, NY 10006                   Philadelphia, PA 19170-0381




K&L Gates LLP                           Patrick S. Childress                 Tradehelm, Inc.
PO Box 844255                           701 S. Wells St., #2001              27 N. Wacker Dr., #103
Boston, MA 02284-4255                   Chicago, IL 60607                    Chicago, IL 60606
United HealthCare
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Palatine, IL 60094-4017




UNUM - Dental
PO Box 406990
Atlanta, GA 30384




UNUM - LTD/B Life
PO Box 406990
Atlanta, GA 30384




UNUM - STD
PO Box 406990
Virginia Beach, VA 23455




UNUM - Vision
PO Box 406990
Eaton Park, FL 33840




W-R2 Jefferson Owner VIII, L.L.C.
1200 North Branch
Chicago, IL 60642




Wesco Distribution, Inc.
PO Box 530409
Quincy, FL 32353-0409
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                                                               United States Bankruptcy Court
                                                                     Northern District of Illinois
 In re      BCause LLC, a Virginia limited liability company                                             Case No.
                                                                                 Debtor(s)               Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for BCause LLC, a Virginia limited liability company in the above captioned action,
certifies that the following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly
own(s) 10% or more of any class of the corporation's(s') equity interests, or states that there are no entities to report under
FRBP 7007.1:
 SBI FTF SPC II Inc.
 1209 Orange ST.
 Wilmington, DE 19801




    None [Check if applicable]




 April 12, 2019                                                      /s/ SCOTT R. CLAR
 Date                                                                SCOTT R. CLAR
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for BCause LLC, a Virginia limited liability company
                                                                     Crane, Simon, Clar & Dan
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